Case 1:08-cV-00183-DDD-.]DK Document 1 Filed 02/06/08 Page 1 of 11 Page|D #: 1

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3 UNITED STATES DISTRICT COURT
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. \NEL“\~, C"LERY` WESTERN DISTRICT OF LOUISIANA
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BY ___,_,. DEPUTY
CYNTHIA BENNETT AND * CIVIL ACTION NO.
CURTIS BENNETT *
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vERsUs * 1=08CV0183
* MAGISTRATE
RICKMAN TRUCKING CO., INC., ET AL *
***>k***************** *>l=*
NOTICE OF REMOVAL

 

TO: THE JUDGES OF THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF LOUISIANA

NOW INTO COURT, through undersigned counsel, comes Lincoln General Insurance
Cornpany (“defendant”), Who respectfully aver:

I.

On January 3, 2008, a civil action entitled "Cynthia Bennett and Curtz`s Bennett versus
Rickmcm Truckz'ng Co., Inc., et al,” Was filed and is presently pending in the 9th Judicial District
Court in the Parish of Rapides, State of Louisiana.

II.

Petitioner, Lincoln General lnsurance Company, received domiciliary service through the
Secretary of State on January 15, 2008, and acquiesces to the removal of this action pursuant to 28
USC §§1331 and 1332.

III.

As of the date of iiling, service via long arm citation has not yet been made on Defendant,

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J ames O. Price.
IV.

As of the date of filing, service via long arm citation has not yet been made on Defendant,
Rickman Trucking Co., Inc.

V.

Petitioners herein request that suit filed on behalf of Cynthia Bennett and Curtis Bennett be
removed to the United States District Court for the Western District of Louisiana for the reasons set
forth beloW. This Court is also advised that thirty (30) days have not elapsed since the date of
service of process upon petitioners See, 28 USC Section l446(b).

VI.

Cynthia Bennett and Curtis Bennett are citizens of and domiciled in the Parish of Rapides,
State of Louisiana.

VII.

James O. Price is a citizen of and domiciled in Columbus, Lowndes County, State of
Mississippi.

VIII.

Rickman Trucking Co., lnc. is a corporation incorporated under the laws of the State of
Mississippi With its principal place of business in Columbus, State of Mississippi.

IX.
Lincoln General Insurance Company is a corporation incorporated under the laws of the State

of Pennsylvania With its principal place of business in the State of Pennsylvania.

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X.

Complete diversity of citizenship existing between the properly cited and served defendants
and the plaintiffs at the time of this removal, this claim is within the Federal Subject Matter
Jurisdiction of this Court, 28 USC Section 1332, and is removable pursuant to 28 USC Section 1441 ,
et seq.

XI.

Plaintiffs, Cynthia Bennett and Curtis Bennett, allege that they have sustained damages
arising from injuries sustained in connection with a motor vehicle accident occurring on or about
January 31, 2007, when Cynthia Bennett was operating a 2003 Honda Civic in a southerly direction
on U.S. Highway 167 in Pineville, Louisiana, and was subsequently struck from the rear by J ames ().
Price. Plaintiff, Curtis Bennett, is alleging he sustained a loss of consortium in connection with the
above-referenced motor vehicle accident.

XII.
Cynthia Bennett alleges that as a result of the aforementioned accident, she has suffered the

following injuries:

a. Injury to the bone, nerve and tissue of the neck, back and spine;
b. Generalized bodily contusions and abrasions;

c. Injury to her cervical spine;

d. Injury to her lumbosacral spine;

e. Aggravation of pre-existing conditions;

f. Pain and suffering;

g. Loss of enjoyment of life;

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h. Lost earnings and lost earning capacity;
i. Disability and loss of use of physical function;
j. Medical expenses, past and future.

(See, Petition for Damages, a copy of which is attached hereto as Exhibit "A").
XIII.

The undersigned has also learned that in connection with the subject accident, Cynthia
Bennett has been treating with an orthopedic surgeon as well as a neurosurgeon for the
aforementioned injuries.

XIV.

Curtis Bennett alleges that as a result of the aforementioned accident, he has suffered a loss
of consortium, service and society of his spouse, Cynthia Bennett, alleging that he is entitled to an
award of damages in a reasonable amount for this loss.

(See, Petition for Damages, a previously attached as Exhibit “A”).

XV.

Based upon the allegations contained in the Petition for Damages, it reasonably appears that
the damages claimed by Plaintiffs exceed the sum of seventy-five thousand dollars ($75,000.00,)
exclusive of interest and costs.

XVI.

Promptly after the filing of this Notice of Removal, written notice is being given to the

plaintiffs and a copy of this Notice of Removal is being filed with the Clerk of the aforesaid State

Court to effect removal of Said civil action to this Court, as provided by 28 USC Section 1446(d).

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WHEREFORE, Petitioner, Lincoln General lnsurance Company, prays that this Honorable
Court enters such and further orders and grants such relief as requested in these proceedings in said
District Court for the Western District of Louisiana and for such other relief as Petitioners are justly
entitled to receive.

Respectfully submitted,

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GU,¥ .i‘ERRIER, 111 (#20323)

JEN FER L. SINDER (#28229)

Perrier & Lacoste, LLC

One Canal Place, Suite 2550

365 Canal Street

New Orleans, LA 70130

Tel.: (504) 212-8820

Fax: (504) 212-8825

Attorneys for Defendant, Lincoln General
Insurance Company

CERTIFICATE OF SERVICE

l do hereby certify that l have on the §§ 121/bay of Tlf/ll_’%% , 2008, served a copy of
the foregoing pleading on counsel for all parties to this proceeding, by ailing same by the United

States mail, properly addressed, and first class postage prepaid.

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Case 1:08-cV-00183-DDD-.]DK Document 1 Filed 02/06/08 Page 6 of 11 Page|D #: 6

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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF LOUISIANA

 

CYNTHIA BENNETT AND. * CIVIL ACTION NO.
CURTIS BENNETT *

* JUDGE
VERSUS *

* MAGISTRATE

*

RICKMAN TRUCKING CO., INC., ET AL

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VERIFICATION

STATE OF LOUISIANA
PARISH OF ORLEANS

BEFORE ME, the undersigned Notary Public, personally came and appeared:

JENNIFER L. SINDER

who after being duly sworn, did depose and say:

That she is the attorney for Petitioner, Lincoln General lnsurance Company, in the above and
foregoing Notice of Removal and is duly authorized to execute this Verification.

That she has read the foregoing Notice of Removal and that the facts and allegations therein

are true and correct to the best of her knowledge, information and belief.

J`i'~:NViF“i-:R L. sINDER
Sworn to and subscribed before me

 

this §~ day Of 008.
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Case 1:08-cV-00183-DDD-.]DK Document 1 Filed 02/06/08 Page 7 of 11 Page|D #: 7

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UNITED STATES DISTRICT COURT
FEB "" 6 2008
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CYNTHIA BENNETT AND * CIVIL ACTION NO.
CURTIS BENNETT *
* JUDGE 1:08CV0183
VERSUS *
* MAGISTRATE
>g<

RICKMAN TRUCKING CO., INC., ET AL

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DEFENDANT. LINCOLN GENERAL INSURANCE COMPANY’S ACOUIESCENCE
TO REMOVAL

NOW INTO COURT, through undersigned counsel, comes defendant, Lincoln General
Insurance Company, who has been properly served with the Plaintiffs’ Petition for Damages and
acquiesces to the removal of this action to this Honorable Court.

Respectfully submitted,

GUY . PERRIER, III (#20323)
JEN FER L. SINDER (#28229)
Perrier & Lacoste, LLC

One Canal Place, Suite 2550

365 Canal Street

New Orleans, LA 70130

Tel.: (504) 212-8820

Fax: (504) 212-8825

 

CERTIFICATE OF SERVICE
I do hereby certify that I have on the A> iday of 08, served a copy of
the foregoing pleading on counsel for all parties to this proce 'ng, by m ing same by the United
States mail, properly addressed, and first class postage prepa)`>$(Z?/YVLQ
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Case 1:08-cV-00183-DDD-.]DK Document 1 Filed 02/06/08 Page 8 of 11 Page|D #: 8

FEB `_, 6 2008 NINTH JUDICIAL DISTRICT COURT FOR THE PARISH OF RAPIDES

RerRT H.SHE ' Ci~ER’< STATE OF LOUISIANA

__'________,_________._.
m ~‘ QEPUTV

NO. 230, 173 DIVI_SION “C”
CYNTHIA BENNETT AND CUR'I`IS BENNETT
VERSUS
RICKMAN TRUCKING CO., INC., ET AL

FILED:

 

 

DEPUTY CLERK
NOTICE OF REMOVAL

TO: Cynthia Bennett and Curtis Bennett

Through Their Attorney of Record

Philip G. Hunter, Esq.

P.O.Box11710 _

Alexandria, LA 71315-1710

PLEASE TAKE NOTICE that Lincoln General lnsurance, defendant in the above-
entitled action, has filed its Notice of Removal, a copy of which is attached hereto, in the Office

of the Clerk of the United States District Court for the Western District of Louisiana.

Respectfully submitted,

 

One Canal Place, Suite 2550

365 Canal Street

New Orleans, LA 70130

Tel.: (504) 212-8 820

Fax: (504) 212-8825

Att_orn.eys for,,D.ef_endant, Lincoln General
lnsurance Company

CERTIFICATE OF SERVICE
l do hereby certify that 1 have on the 77q/day of{`JW/i/l'lw. 2008, served a copy
of the foregoing pleading on counsel for all parties to this proceeding, by mailing same by the

United States mail, properly addressed, and first class postage prepaid

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Case 1:08-cV-00183-DDD-.]DK Document 1 Filed 02/06/08 Page 9 of 11 Page|D #: 9

u~s_ construct COURT 1208CV0183

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FEB " 6 2008

 

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF LOUISIANA

CYNTHIA BENNETT AND * CIVIL ACTION NO.
CURTIS BENNETT *

* JUDGE
VERSUS *

* MAGISTRATE
RICKMAN TRUCKING CO., INC., ET AL *
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CERTIFICATE OF FILING

 

I HEREBY CERTIFY that I have received a copy of the action styled "Cynthia Bennett and
Curtis Bennett v. Rickman Trucking Co., lnc., et al.” Docket No. 230, 173, Division “C,” 9th
J udicial District Court for the Parish of Rapides, State of Louisiana, and that a copy of the Notice of
Removal has been filed in the office of the Clerk of Court, 9th Judicial District Court, Parish of
Rapides, State of Louisiana, in the action styled "Cynthia Bennett and Curtis Bennett v. Rickman

Trucking Co., lnc., et al,” Docket No. 230, 173, Division "C", on the docket of said Court.
IN WITNESS WHEREOF, I hereunto set my hand and affix my seal this g day of

', 2008.
‘Zm ¢/a/w,¢§-/

CLERK, UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF LOUISIANA

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Case 1:08-cV-00183-DDD-.]DK Document 1 Filed 02/06/08 Page 10 of 11 Page|D #

PERR|ER & |_ACOSTE, L.L.c.

ATTORNEYS AT LAW
ONE CANAL. PL_ACE
365 CANAL STREET
SU|TE 2550
NEW ORl.EANS, |_OU|S|ANA 70|30

 

 

TE|_EF'HONE: (504) 2|2-8820
FACS|M|LE: (504) 212-8825

February 6, 2008

Clerk of Court

United States District Court
Western District of Louisiana
105 Post Office Buildiiig

515 1\/1urray Street
Alexandria, LA 71309-1269

RE: Cynthia Bennett, et al v. Rickman Trucking Co., lnc., et al
9t JDC No. 230,173, Div. “C”
P&L Client/File No.: 2514-50228

Dear Sir/l\/ladame:

Per my discussion with the Clerk of Court on 2/6/08, enclosed please find the
Civil Cover Sheet in the matter Cynthia Bennett er al v. Rickman Trucking Co., Inc., et
al., 9th JDC No. 230,173, Div. “C” which was inadvertently left out of the recent
pleadings filed in this matter.

Also enclosed is our firm check in the amount of 3350.00 made payable to Clerk
of Court, USDC »Western District, to cover the costs of the Notice of Removal and
accompanying pleadings As discussed with the Clerk's office on 2/6/08, the original
check in the amount of 8350.00 was mistakenly made payable to the 9th JDC.

l\/ly appreciation is that the Clerk filed the Notice of Removal and accompanying
pleadings on 2./6/08, ensuring that thc Rcmoval will be timely filed, and that the original
check made payable to the 9th JDC will be returned to my office

I appreciate your courtesies as to notifying us of these issues and helping to
rectify them in a prompt fashion. Should you have any questions regarding same, or

should you require any further information, please do not hesitate to contact me.

Kindest Regards,
Jeni'iit`er 1_.. Sinder, Esq.

JLS/ap
Enclosures

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PERRIER & LACosTE, L.L.C.

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NEW ORLEANS, LA 70130

 

TELEPHONE: (504) 212 - 8820
FACSlMlLE: (504) 212 -_8825

January 31, 2008

Honorable Marcia Leleux
Deputy Clerk-In-Charge
United States District Court
Western District of Louisiana
105 Post Office Building

515 Murray Street
Alexandria, LA 71309-1269

RE: Cynthia Bennett, et al v. Rickman Trucking Co., Inc., et al
9t JDC NO. 230,173, Div. “c”
P&L Client/File No.: 2514-50228

Dear Madam:

Enclosed please find Notice for Removal, Submission of Documents pursuant to 28
U.S.C. 1446(a), Acquiescence to Removal, Verification and Certificate of Filing filed on behalf
of defendant, Lincoln General Insurance Company. Also enclosed is a copy of the Removal
which was filed in the Judicial District Court. Also enclosed for filing is an Answer on behalf if
Lincoln General Insurance Company. Pursuant to your conversation with our office, enclosed is
our firm check in the amount of $350.00 to cover all filing fees.

Please return a stamped, conformed copy of this pleading to us in the self-addressed,
postage prepaid envelope which is enclosed for your convenience Thank you for your assistant
in this matter, and should you have any questions, please do not hesitate to contact me.

Kindest Regards,

 

JLS/ap
Enclosures
cc: Philip G. Hunter, Esq. (via facsimile)

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